




02-12-093-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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NO. 02-12-00093-CV

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  Reao Joseph Keller
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Deutsche Bank National Trust Company, As Trustee
  for HSI Asset Securitization Corporation Trust 2006-WMCI
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM County
Court at Law No. 2 OF Denton COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On June
21, 2012, we notified appellant that his brief had not been filed as required
by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P. 38.6(a).&nbsp;
We stated we could dismiss the appeal for want of prosecution unless appellant
or any party desiring to continue this appeal filed with the court on or before
July 2, 2012 a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.

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PER CURIAM

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PANEL:&nbsp;
WALKER, MCCOY, and MEIER, JJ.

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DELIVERED:&nbsp;
July 19, 2012








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[1]See Tex. R. App. P. 47.4.







